     CASE 0:06-cr-00008-PAM-RLE   Doc. 285   Filed 08/30/06   Page 1 of 1




                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                  Criminal No.: 06-08(7)(RHK/RLE)


UNITED STATES OF AMERICA,         )
                                  )
                 Plaintiff,       )
                                  )    ORDER OF DISMISSAL
v.                                )
                                  )
CHRISTIAN DARRYL VEITH,           )
                                  )
                 Defendant.       )


     IT IS HEREBY ORDERED that pursuant to Rule 48(a) of the

Federal Rules of Criminal Procedure, the United States’ motion

for dismissal is hereby GRANTED and the Second                 Superseding

Indictment against the above-named defendant is dismissed.



Dated: 8/30/06
                                  s/Richard H. Kyle
                                  RICHARD H. KYLE
                                  U.S. District Court Senior Judge
